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 1
                                   UNITED STATES DISTRICT COURT
 2                                CENTRAL DISTRICT OF CALIFORNIA
 3
      DENIECE WAIDHOFER, an
 4    individual; MARGARET MCGEHEE,                                  Case No. 2:20-cv-06979-FMO-AS
 5    an individual; and RYUU LAVITZ,
 6    LLC, a Massachusetts limited liability                         AMENDED JOINT RULE 26(f)
      company,                                                       REPORT
 7
 8                             Plaintiffs,                           Scheduling Conference Date:
                                                                     December 3, 2020
 9              v.
10                                                                   Judge: Hon. Fernando M. Olguin
      CLOUDFLARE, INC., a Delaware                                   Magistrate Judge: Hon. Alka Sagar
11    corporation; BANGBROS.COM, INC.,
12    a Florida corporation; SONESTA                                 Original Complaint Filed: August 3,
13    TECHNOLOGIES, INC., a Florida                                  2020
      corporation; MULTI MEDIA LLC, a
14    California limited liability company;                          Amended Complaint Filed:
15    CRAKMEDIA INC., a Canadian                                     November 4, 2020
      corporation; and JOHN DOES 1-21, as-
16    yet unidentified individuals,
17
                               Defendants.
18
19              This Amended Joint Rule 26(f) report is submitted by Plaintiffs Deniece
20    Waidhofer (“Waidhofer”), Margaret McGehee (“McGehee”), and Ryuu Lavitz, LLC
21    (“Lavitz”) (collectively, “Plaintiffs”), Defendant Cloudflare, Inc. (“Cloudflare”),
22    and Defendants Multi Media, LLC (“Multi Media”) and Sonesta Technologies, Inc.
23    (f/k/a BangBros.com Inc.) (“Sonesta”) (the latter two, together, the “Advertiser
24    Defendants” or the “Advertisers”). Plaintiffs and the foregoing defendants (the
25    “Appearing Defendants”) have met and conferred pursuant to Federal Rule of Civil
26    Procedure 26(f) and this Court’s orders.
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 1              A.        Statement of the Case
 2    Plaintiffs’ Statement
 3              Plaintiffs allege that they each own valid copyrights in certain photographic
 4    works (the “Works”) that unlawfully appeared on the alleged piracy website
 5    Thothub.tv (“Thothub”), a now-defunct website that was allegedly devoted to
 6    infringing works from certain licensed sites (the “Licensed Sites”) on which all three
 7    Plaintiffs published their Works. Plaintiffs assert various claims under the Copyright
 8    Act, the Racketeer Influenced and Corrupt Organizations Act (“RICO”), and state
 9    law for the allegedly unauthorized use of their Works, alleged acts of racketeering,
10    and certain alleged acts of unfair competition, against the Appearing Defendants, an
11    additional Defendant that is allegedly closely associated with the Advertisers
12    (Defendant CrakMedia, Inc. [“CrakMedia”]), and 21 as-yet unidentified individuals
13    that allegedly operated Thothub under pseudonyms (“the Operators” and together
14    with the other defendants, “Defendants”).
15              Plaintiff’s First Amended Complaint (the “FAC”) asserts the following
16    claims. Count One alleges that the Operators, through their operation of an
17    association-in-fact enterprise (the “Thothub Enterprise”) whose purpose was to
18    commit criminal copyright infringement against creators from the Licensed Sites,
19    engaged in conduct of a RICO enterprise under 18 U.S.C. § 1962(c). Count Two
20    alleges that the Operators, Advertisers, and CrakMedia participated in and
21    knowingly facilitated a RICO conspiracy under 18 U.S.C. § 1962(d) with respect to
22    the Thothub Enterprise. Count Three alleges that the Advertisers and CrakMedia
23    received income from a pattern of racketeering activity and invested that income into
24    the Thothub Enterprise through surreptitious cryptocurrency payments, in violation
25    of 18 U.S.C. § 1962(a). Count Four alleges that the Operators and Cloudflare
26    committed direct infringement of Plaintiffs’ copyrights in the Works in relation to
27    Thothub. Count Five alleges that all Defendants contributorily infringed Plaintiffs’
28    copyrights in the Works by providing material assistance with respect to the

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 1    infringements on Thothub. Counts Six and Seven allege that the Advertisers engaged
 2    in unfair competition against Plaintiff under the common law and Section 17200 of
 3    the California Business & Professions Code, respectively.
 4              Plaintiffs have served the Appearing Defendants (including Sonesta), each of
 5    whom has made an appearance in this case. Plaintiffs are also attempting to serve
 6    process on CrakMedia, which is complicated by the fact that CrakMedia is located
 7    outside of the United States. Plaintiffs will also attempt to serve process on the
 8    Operators if and when it confirms their true identities. Plaintiffs will address the
 9    Identified Defendants’ various legal arguments below at the appropriate time in
10    future briefing regarding their motions to dismiss.
11    Appearing Defendants’ Statement
12              The Appearing Defendants deny all claims asserted by Plaintiff and have filed
13    motions to dismiss Plaintiffs’ claims against them in their entirety. In particular, as
14    set forth in its pending motion to dismiss, Defendant Cloudflare believes each of the
15    claims directed against it (Counts Four and Five) fails to state a claim, lacks merit,
16    and should be dismissed with prejudice as the failures of Plaintiffs’ FAC reflect
17    fundamental misapprehensions of the law and cannot be corrected through
18    amendment. Plaintiffs’ claims in this litigation stem from their allegations that the
19    adult-oriented photographs that each of them separately made available to users on
20    pay sites, and unpublished “semi-nude” photographs that Plaintiff Waidhofer
21    separately emailed to at least one individual user, were copied by those users and put
22    up on the website thothub.tv without Plaintiffs’ permission. Rather than focus their
23    litigation efforts on the individuals who engaged in the allegedly unauthorized
24    copying or even on the owners or operators of the accused thothub.tv website itself,
25    plaintiffs strain to hold remote parties such as Cloudflare and the Advertisers liable
26    for copyright infringement, based upon plaintiffs’ own subscribers’ alleged improper
27    actions. Cloudflare is an Internet service provider that provides infrastructure
28    support and security services that protect millions of websites around the world,

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 1    including both Plaintiff Ryuu Lavitz LLC and Patreon.com, one of the so-called
 2    “Licensed Sites” that Plaintiffs themselves rely on for their business and livelihood.
 3    Cloudflare had nothing to do with the alleged copying of the photographs Plaintiffs
 4    made available online, and the photographs would have remained fully available on
 5    thothub.tv even if Cloudflare had terminated its services to thothub.tv. Cloudflare’s
 6    services have an even more attenuated relationship to the alleged direct infringement
 7    than the payment processing services at issue in Perfect 10, Inc. v. Visa Intern.
 8    Service Ass’n, 494 F. 3d 788 (9th Cir. 2007), where the plaintiff’s contributory
 9    infringement claim was dismissed with prejudice. There is no basis to hold
10    Cloudflare liable for the alleged copying in this case.
11              The Advertiser Defendants1 are similarly remote from the misconduct alleged
12    to have been perpetrated on thothub.tv. The Advertiser Defendants are media
13    companies that have operated adult websites. Plaintiffs do not assert infringement
14    of their rights occurred on any of the Advertiser Defendants’ own sites. Rather, they
15    allege separate third-party Internet marketing companies such as CrakRevenue fed
16    advertisements to promote the Advertiser Defendants’ websites that appeared on a
17    separate website, thothub.tv, which plaintiffs allege infringed their copyrights. To
18    be clear, plaintiffs do not allege the Advertiser Defendants have ever owned or
19    operated the accused thothub.tv website or that they otherwise controlled the
20    allegedly infringing conduct on the accused thothub.tv website. Nor do plaintiffs
21    allege that the Advertiser Defendants have had any connection to the alleged
22    uploaders of Plaintiff’s’ images. Plaintiffs instead assert contributory copyright
23    infringement based on works ostensibly posted by these unrelated third parties to
24    thothub.tv, but that theory fails for multiple reasons. The two new plaintiffs who
25    1
         Although plaintiffs have named Sonesta Technologies, Inc. and BangBros.com
26    Inc. as purportedly different defendants, they are the same entity. BangBros.com
27    Inc., a Florida corporation formed on December 13, 2002, changed its name to
      Sonesta Technologies, Inc. pursuant to Articles of Amendment filed with the Florida
28    Secretary of State on October 7, 2014.

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 1    were added to the FAC registered their works only after the original Complaint was
 2    filed, which is fatal to their claims under Supreme Court precedent and other
 3    authority. E.g., Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S.Ct.
 4    881, 892 (2019). Untimely registrations aside, plaintiffs’ copyright claims also fail
 5    because they do not plead facts showing knowledge of, or material contribution to,
 6    any alleged specific infringement of plaintiffs’ copyrights on thothub.tv site by the
 7    Advertiser Defendants, as binding precedent requires. Perfect 10 Inc., 494 F.3d at
 8    788. Plaintiffs assert, even more groundlessly, two RICO claims against the
 9    Advertiser Defendants in spite of the fact that the Advertiser Defendants were not
10    promoting or encouraging acts that infringed upon their rights on the thothub.tv
11    website or anywhere else. These claims persist in the FAC, even though Plaintiffs
12    have unceremoniously abandoned any claims against thothub.tv, the site where the
13    infringement allegedly occurred, and indeed even though Plaintiffs essentially base
14    their claims against the Advertiser Defendants on ordinary, entirely legal Internet
15    marketing activities.. In addition, Plaintiffs have failed to show that the Advertiser
16    Defendants’ alleged RICO violations were the direct cause of their injuries. E.g.,
17    Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137, 1148 (9th Cir. 2008).
18    Finally, Plaintiffs’ state law unfair competition claims fail because state law has
19    rejected theories of secondary liability, and the claims are preempted by the federal
20    Copyright Act.
21              The Appearing Defendants separately filed motions to dismiss Plaintiff
22    Waidhofer’s Original Complaint on October 14, 2020. On October 16, 2020, in
23    response to the Appearing Defendants’ pending motions to dismiss the Original
24    Complaint, Plaintiffs’ counsel announced that Waidhofer would be amending her
25    complaint. Plaintiff allowed the October 22, 2020 deadline for opposing the
26    Appearing Defendants’ motions to dismiss the Original Complaint to pass without
27    filing a response. On October 27, 2020, the Court sua sponte issued an Order to
28    Show Cause why Plaintiff’s action should not be dismissed against Thothub.tv for

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 1    failure to effect service. Plaintiff responded on November 3, 2020, representing to
 2    the Court that Thothub did not appear to be a legal person that could be served with
 3    process and instead was merely a web domain. Plaintiffs filed the FAC on November
 4    4, 2020, adding new Plaintiffs McGehee and Ryuu Lavitz LLC, adding two new
 5    Defendants, and dropping Thothub.tv as a named defendant.
 6              The Appearing Defendants believe the deficiencies in Plaintiffs’ FAC
 7    ultimately are uncurable, and Cloudflare and the Advertiser Defendants have
 8    separately filed motions to dismiss the FAC.
 9              B.        Subject-Matter Jurisdiction
10              Plaintiffs contend this Court has original jurisdiction over the RICO and
11    Copyright Act claims under 28 U.S.C. § 1331 because these claims arise under the
12    laws of the United States.
13              Plaintiffs contend this Court has original jurisdiction over the state-law claims
14    under 28 U.S.C. § 1332 because each Plaintiff is a citizen of a different State from
15    each Appearing Defendant and the amount in controversy exceeds the sum or value
16    of $75,000, exclusive of interest and costs.
17              Plaintiffs contend this Court also has supplemental jurisdiction over the state-
18    law claims under 28 U.S.C. § 1367 because those claims are so related to claims
19    over which this Court has original jurisdiction that they form part of the same case
20    or controversy under Article III of the United States Constitution.
21              Appearing Defendants have not moved to dismiss Plaintiffs’ claims on
22    personal jurisdiction or venue grounds. The Advertiser Defendants have moved to
23    dismiss Plaintiffs’ RICO claims on the basis of standing.
24              C.        Legal Issues
25              Some of the legal issues discussed by the Parties to date include:
26                        i. Whether Plaintiffs have Article III and/or statutory standing to bring
27                             claims for any or certain of the Works;
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 1                        ii. Whether the FAC adequately identifies the Works that are at issue
 2                             in this litigation;
 3                        iii. Whether the FAC adequately alleges that the Identified Defendants
 4                             committed direct and/or contributory copyright infringement with
 5                             respect to the Works;
 6                        iv. Whether the FAC adequately alleges an enterprise, pattern of
 7                             racketeering activity, and proximate cause under RICO;
 8                        v. Whether Plaintiff has Article III and/or statutory standing to bring
 9                             the RICO claims;
10                        vi. Whether the FAC adequately alleges claims under state law and
11                             whether Plaintiff’s state law claims are preempted by the Copyright
12                             Act or prohibited by Section 230 of the Communications Decency
13                             Act;
14                        vii. Whether the FAC seeks relief that is permissible under the federal-
15                             and state-law claims asserted, and whether Plaintiff is entitled to
16                             seek statutory damages under the Copyright Act; and
17                        viii. Whether the FAC is properly an amended pleading, or whether it
18                             is a supplemental pleading that required leave of Court before filing.
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 1    D. Parties, Evidence, Etc.
 2    Plaintiffs’ Statement
 3              At this time, subject to further discovery, Plaintiffs can tentatively identify the
 4    following parties, witnesses, and key documents.
 5              i.        Parties: Deniece Waidhofer (Plaintiff); Margaret McGehee (Plaintiff);
 6                        Ryuu       Lavitz        LLC      (Plaintiff);      Cloudflare,        Inc.   (Defendant);
 7                        BangBros.Com,             Inc.    (Defendant); Sonesta                Technologies,   Inc.
 8                        (Defendant); Multi Media LLC (Defendant); CrakMedia Inc.
 9                        (Defendant)
10              ii.       Percipient Witnesses: Deniece Waidhofer; Margaret McGehee; Ryuu
11                        Lavitz; Damien Bell; Benjamin Brown; Conor McClelland; Benjamin
12                        Samaey; Michael Hughes; Linus Malmberg; Andrew Rubio; Francisco
13                        Dias; representatives and/or employees of the Defendants.
14              iii.      Key Documents: Plaintiffs’ copyright registration and application
15                        documents; copies of Plaintiffs’ Works; screenshots and images from
16                        Thothub,           the       Thothub           forums,          whois.domaintools.com,
17                        crakrevenue.com, Cloudflare.com, and related webpages; Plaintiffs’
18                        financial       records       from      the     Licensed         Sites,   Storenvy,   and
19                        LavitzNation.com; traffic reports and data regarding Thothub; records
20                        of payments to, from, or related to Thothub; contracts involving
21                        Defendants or their agents related to Thothub; communications
22                        regarding notices of infringement related to Thothub; Defendants’
23                        communications regarding Thothub, Plaintiffs, affiliate marketing, and
24                        affiliate management; documents referenced in the Complaint.
25    Appearing Defendants’ Statement
26              At this time, subject to further discovery, Appearing Defendants can
27    tentatively identify the following parties, witnesses, and key documents.
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 1              i.        Parties: Deniece Waidhofer (Plaintiff); Margaret McGehee (Plaintiff);
 2                        Ryuu Lavitz LLC (Plaintiff); Cloudflare, Inc. (Defendant); Sonesta
 3                        Technologies, Inc. (f/k/a BangBros.com Inc.) (Defendant); Multi
 4                        Media, LLC (Defendant); CrakMedia Inc. (Defendant).
 5              ii.       Percipient Witnesses: Deniece Waidhofer; Margaret McGehee; Ryuu
 6                        Lavitz2; owners, members, agents, representatives and/or employees of
 7                        the Plaintiffs; Matthew Cathey; Michael Tersigni; Jared Goodman;
 8                        Jordan Siberry.
 9              iii.      Key Documents: Plaintiffs’ copyright registration and application
10                        documents; copies of Plaintiffs’ alleged Works; documents concerning
11                        the creation, publication, and dissemination of Plaintiffs’ alleged
12                        Works;        documents           concerning          Plaintiffs’     investigation   of
13                        infringements of Plaintiffs’ alleged Works; documents concerning
14                        Plaintiffs’ allegations in the FAC; documents concerning Plaintiffs’
15                        websites          (including          without          limitation     lavitznation.com,
16                        ryuulavitz.com, omgcosplay.com, and niecewaidhofer.com) and
17                        related webpages; Plaintiffs’ records, including financial records,
18                        concerning the use, dissemination, or exploitation of Plaintiffs’ alleged
19                        works, including without limitation financial records concerning the
20                        Licensed Sites, Storenvy, and Plaintiffs’ websites; documents
21                        referenced in the Complaint.
22              E.        Insurance
23              Plaintiffs are not aware of any insurance coverage applicable to this dispute.
24              Cloudflare has insurance coverage applicable to this dispute.
25              Defendant Multi Media will submit to Plaintiffs a copy of its insurance policy
26    for management liability coverage. Defendant Sonesta is not aware of any insurance
27    policy applicable in this matter as of this time, but reserves the right to supplement
28    this information should it conclude otherwise as a result of its ongoing investigation.

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 1               F.        Magistrate Judge
 2               The Parties do not consent to a magistrate judge presiding over this action for
 3     all purposes, including trial.
 4               G.        Discovery and Case Schedule
 5               The Court ordered that discovery would open on the date that Appearing
 6     Defendants filed motions to dismiss, which was October 14. As noted above,
 7     Identified Defendants reserve the right to seek a stay of discovery based on their
 8     respective motions to dismiss all claims against them and what they claim are
 9     abundant infirmities with the FAC (Plaintiffs disagree with these characterizations
10     of the FAC). Appearing Defendants will meet and confer with Plaintiffs prior to
11     filing any such motion as required under the Local Rules and the Court’s Orders.
12               The Parties do not propose any changes to the disclosures under Rule 26(a).
13               The Parties do not propose phasing discovery.
14               The Parties are currently negotiating a protective order to govern discovery so
15     that, if appropriate, the Parties may designate any materials produced in discovery
16     as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only,” with appropriate
17     protections for such materials. The Parties anticipate submitting a Stipulated
18     Protective Order to the Court in due course.
19               Counsel for the Parties discussed the following tentative timeline for
20     discovery and other proceedings in this case, subject to each reserving the right to
21     request a different schedule after conferring with their respective clients.
22
23     2
         To date, Plaintiffs have not adequately identified the owner of Plaintiff Ryuu Lavitz
24     LLC, since the FAC alleges that “Ryuu Lavitz” is a pseudonym for the LLC’s owner,
25     but Plaintiffs’ Notice of Interested Parties (Dkt. No. 69) states that “Ryuu Lavitz” is
       the “sole member of Ryuu Lavitz LLC.” For purposes of this Report, Appearing
26     Defendants assume that person’s true name is Ryuu Lavitz. Plaintiffs have explained
27     that the owner of Ryuu Lavitz LLC has gone by the name “Ryuu Lavitz” publicly
       for many years and, for privacy and security reasons related to her celebrity, is
28     currently in the process of seeking a legal name change in Massachusetts court.

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 1                        Event                        Plaintiff’s Proposal               Defendants’ Proposal
 2            Fact discovery begins                      October 14, 2020                 [Oct. 14, 2020 pending
 3                                                                                               motions to stay]
 4            Fact discovery closes                      October 30, 2021                         June 10, 2021
 5        Initial expert designations                   November 2, 2021                          June 14, 2021
 6         Initial expert reports due                  November 23, 2021                          July 1, 2021
 7          Expert discovery opens                     November 23, 2021                          July 1, 2021
 8       Expert counter-designations                   December 15, 2021                          July 31, 2021
 9        Expert rebuttal reports due                    January 15, 2022                        August 26, 2021
10          Expert discovery closes                      February 5, 2022                        Sept. 17, 2021
11          Dispositive motions due                     February 19, 2022                         Oct. 14, 2021
12                                                                                               (opening briefs)
13                    Trial begins                         June 14, 2022                          Feb. 24, 2022
14     Plaintiffs’ Statement
15
                 Plaintiffs’ proposed schedule is based on several considerations. First, given
16     the ongoing pandemic, it will be difficult to complete fact discovery in the period
17     allotted under the Appearing Defendants’ proposal. Second, this case will likely
18     require potentially time-consuming international discovery because BangBros’s and
19
       Multi Media’s owners are believed to be overseas; Defendant CrakMedia, who
20
       served as Advertisers’ advertising agent and allegedly engaged in so-called “affiliate
21
       management” with respect to Thothub, is located in Canada; and some of the
22
       Operators may reside overseas. Third, Plaintiff’s proposed schedule is consistent
23
       with the average approximately 22-month timeframe from complaint to trial for civil
24     cases in this District, according to Federal Court Management Statistics. Fourth,
25
       Plaintiff’s lead counsel Brett Rosenthal’s wife is pregnant with their second child
26
       and due to give birth on December 17, 2020, thus making it difficult for Plaintiff to
27
       undertake discovery during the early part of the year.
28

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 1     Appearing Defendants’ Statement
 2               Appearing Defendants believe their proposed schedule is reasonable in light
 3     of Plaintiff’s claims, and that Plaintiff’s arguments to the contrary are unpersuasive.
 4     First, the ongoing pandemic is unlikely to delay discovery: the situation is no longer
 5     emergent, and law firms have had ample time to adjust to any necessary limitations.
 6     If anything, conducting discovery remotely is likely to streamline the discovery
 7     process to the extent it will be unnecessary to travel for depositions, hearings, or
 8     other purposes. Second, Appearing Defendants believe it is premature to expand the
 9     schedule based the mere “potential[]” for “time-consuming international discovery.”
10     Appearing Defendants are prepared to meet and confer with Plaintiffs in good faith
11     to adjust the discovery schedule, should any need actually arise. In addition, the need
12     to conduct discovery remotely is likely to streamline any international discovery that
13     may be necessary, for the reasons already discussed. Third, the average time to trial
14     of other, unrelated litigation in the Central District does not govern in this particular
15     case. Fourth, and finally, Appearing Defendants believe their proposed schedule—
16     which sets the close of fact discovery nearly six months after the mid-December due
17     date of Mr. Rosenthal’s child—is reasonable. Among other things, Plaintiffs
18     currently have six attorneys appearing in this case, including four from Mr.
19     Rosenthal’s firm.
20               H. Motions
21               Appearing Defendants have filed motions to dismiss all of Plaintiffs’ claims
22     against them in the FAC. Appearing Defendants have also reserved the right to seek
23     a stay of discovery. The Parties will confer about a motion to stay in the event that
24     any of the Appearing Defendants decides to bring such motion. Cloudflare intends
25     to file summary judgment with respect to any of Plaintiffs’ claims that survive
26     Cloudflare’s motion(s) to dismiss. The Advertisers similarly intend to file a motion
27     for summary judgment with respect to any of Plaintiffs’ claims that survive their
28     motion(s) to dismiss.

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 1               Plaintiffs do not currently anticipate filing any motions but reserve the right
 2     to do so. As noted above, the Complaint adds two additional defendants—Sonesta
 3     and CrakMedia—that are associated with the Advertisers, as well as two additional
 4     Plaintiffs (McGehee and Lavitz). Plaintiffs do not currently expect additional parties
 5     to be joined to the suit. However, Plaintiffs reserve the right to seek leave to add
 6     additional parties, if new information comes to light. The Appearing Defendants
 7     reserve the right to object to any such joinder of additional parties.
 8               I.        Dispositive Motions
 9               As noted above, Appearing Defendants have filed motions to dismiss and
10     intend to file motions for summary judgment with respect to any claims against them
11     that may survive motions to dismiss. The Parties have proposed February 19, 2022
12     (Plaintiffs’ proposal) and October 14, 2021 (Appearing Defendants’ proposal),
13     respectively, as the deadline for filing dispositive motions. Appearing Defendants
14     believe the following issues or claims may be determined by such motions: whether
15     Plaintiffs have Article III standing and/or statutory standing to bring copyright
16     claims for alleged works, including whether Plaintiffs actually own or have properly
17     registered alleged works; whether Plaintiffs are entitled to statutory damages for
18     alleged works; whether Cloudflare committed direct infringement of alleged works;
19     whether Appearing Defendants are liable for contributory infringement of alleged
20     works; whether Cloudflare is immune from liability for copyright infringement
21     pursuant to the Digital Millennium Copyright Act, 17 U.S.C. § 512; whether the
22     Plaintiffs were directly injured by the use or investment of alleged racketeering
23     income; whether the Plaintiffs can show any purported conspiracy in violation of the
24     RICO statute; and, whether the unfair competition common law and state law claims
25     are preempted by the federal Copyright Act, among other legal defects.
26               Appearing Defendants have not yet answered the FAC and may state
27     additional defenses, to the extent Plaintiffs’ claims survive Appearing Defendants’
28

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 1     motions to dismiss. Appearing Defendants anticipate that dispositive motions may
 2     resolve questions or law or fact with respect to such additional defenses, if any.
 3               J.        Settlement/Alternative Dispute Resolution (ADR)
 4               The Parties have not yet had any substantive conversations about potential
 5     settlement but have stated they are open to discussing settlement at an appropriate
 6     juncture. The Parties tentatively agreed that a settlement conference before a federal
 7     magistrate judge would be preferable to other alternatives.
 8               K.        Pretrial Conference and Trial
 9               The Parties have proposed June 14, 2022 (Plaintiffs’ proposal) and February
10     24, 2022 (Appearing Defendants’ proposal), respectively, as the date when trial
11     would begin. Plaintiffs propose that the pretrial conference would take place about
12     two weeks before the trial date on a date suitable for the Court. Appearing
13     Defendants propose that the pretrial conference would take place approximately two
14     weeks prior to trial.
15               L.        Trial Estimate
16               Plaintiffs currently anticipate a two- to three-week jury trial (assuming full
17     days reserved for trial), subject to revision based on the outcome of motions to
18     dismiss and dispositive motions. Cloudflare anticipates a one or two week jury trial,
19     depending on what claims survive Cloudflare’s motion to dismiss and anticipated
20     summary judgment motion. The Advertisers also anticipate a one or two week jury
21     trial, depending on what claims survive motion practice.
22               M.        Trial Counsel
23               Trial counsel for Plaintiffs and the Appearing Defendants, respectively, in this
24     matter are expected to consist of the undersigned counsel.
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 1                N.        Independent Expert or Master
 2                The Parties do not currently believe that this case requires appointment of a
 3     special master or independent scientific expert. Each party reserves the right to make
 4     such request in the future, if necessary and appropriate.
 5                O.        Other Discovery Issues
 6                Plaintiffs and the Appearing Defendants exchanged initial disclosures under
 7     Federal Rule of Civil Procedure 26(a) on November 13, 2020. Plaintiff served an
 8     initial set of discovery on the Appearing Defendants on October 15, 2020, and
 9     Appearing Defendants timely served written responses on November 16, 2020. The
10     Appearing Defendants have not yet served written discovery. The Advertisers
11     requested depositions of each of the Plaintiffs on November 4, and Plaintiffs have
12     offered dates for these depositions. Plaintiffs have requested depositions of four
13     witnesses who are believed to be the Advertisers’ employees.
14                The Parties discussed the following information that they request be preserved
15     in relation to this litigation:
16                i. Plaintiff’s Preservation Requests to Appearing Defendants3
17                     a) All server logs for U.S. servers used to store, transmit, or distribute data
18                          related to Thothub (Cloudflare);
19                     b) All copies of Thothub-related files from U.S. servers (Cloudflare);
20                     c) All communications related to Thothub or involving any of the
21                          following persons: (i) any person identified in communications using
22                          one of the pseudonyms for the Operators (see Complaint ¶¶ 23, 151);
23                          (ii) Benjamin (aka “Jelle”) Samaey; (iii)_ Michael Hughes; (iv) Linus
24                          Malmberg; (v) Andrew Rubio); or (vi) Francisco Dias or his company
25                          Frantech Solutions;
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           Requests that relate only to particular defendants are noted in parentheses after the line item.

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 1                    d) All communications related to Thothub, affiliate marketing, or affiliate
 2                         management with CrakRevenue or CrakMedia (BangBros and Multi
 3                         Media);
 4                    e) All agreements or draft agreements with Thothub or John Does 1-21;
 5                    f) All agreements or draft agreements with CrakRevenue or CrakMedia
 6                         (BangBros and Multi Media);
 7                    g) Copies of all advertisements that appeared on Thothub (BangBros and
 8                         Multi Media);
 9                    h) All documents preserved pursuant to Plaintiff’s litigation hold letter
10                         dated and delivered to Cloudflare in July 2020 (Cloudflare);
11                    i) All web traffic reports regarding Thothub or traffic from Thothub;
12                    j) All documents regarding sales made off user traffic derived from
13                         Thothub (BangBros and Multi Media);
14                    k) All financial records showing payments made or received related to
15                         Thothub and/or involving any of the persons listed in item (c) above,
16                         including any payments made to or from these persons via
17                         CrakRevenue or CrakMedia;
18                    l) All communications regarding alleged copyright infringement on
19                         Thothub, including all DMCA or copyright-infringement notices and
20                         responses related to Thothub;
21                    m) All communications between any Appearing Defendant and any other
22                         person regarding Plaintiffs or this lawsuit;
23                    n) All written policies regarding copyright-infringement/DMCA notices
24                         and/or regarding termination of alleged repeat infringers (Cloudflare);
25                         and
26                    o) All documents that include the term “Thothub,” “Thot Hub,” or
27                         “Thothub.tv.”
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 1               ii. Cloudflare and the Advertiser Defendants believe that at least some of
 2                    Plaintiffs’ preservation requests are overbroad, and disagree that the
 3                    requests are reasonably tailored or proportional to the needs of this case.
 4                    Both counsel for Cloudflare and the Advertiser Defendants will meet and
 5                    confer with Plaintiffs’ counsel with respect to the scope of the preservation
 6                    requests. Specifically, the Advertiser Defendants believe Plaintiffs’
 7                    requests for categories relating CrakRevenue or CrakMedia untethered to
 8                    Plaintiffs or their claims are likely overbroad and include materials not
 9                    relevant to the case. Plaintiffs disagree with these characterizations of the
10                    requests.
11               iii. Appearing Defendants’ Preservation Requests to Plaintiffs:
12                    a) All documents related to copyright registration of the Works;
13                    b) All documents regarding creation of the Works;
14                    c) All documents regarding publication of the Works;
15                    d) Documents sufficient to show any reproduction, distribution, or display
16                         of the Works, including any unpublished Works, by Plaintiffs or any
17                         third party;
18                    e) All documents regarding the value of the Works or similar works
19                         owned by Plaintiffs, whether or not asserted in this litigation, including
20                         any licensing or sales agreements or proposals, and financial records;
21                    f) All documents regarding the value of Plaintiffs’ names, reputations,
22                         and/or likenesses, including any modeling contracts, licensing or sales
23                         agreements or proposals, and financial records;
24                    g) All documents regarding Plaintiffs’ alleged injuries;
25                    h) All documents regarding Plaintiffs’ efforts to investigate alleged
26                         infringement or unauthorized use of Plaintiff’s Works;
27                    i) All documents regarding Plaintiffs’ efforts to prevent or limit
28                         infringement of the Works;

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 1                    j) All documents referenced in or relied upon by the Complaint, or that
 2                         Plaintiffs otherwise contend support their claims;
 3                    k) All documents regarding Plaintiffs’ relationship to any third party to
 4                         which Plaintiffs’ Works have been licensed, whether by express
 5                         license, implied license, or otherwise; and
 6                    l) All communications with third parties regarding any private
 7                         distribution of any of Plaintiffs’ Works.
 8     Plaintiffs’ Statement
 9               Plaintiffs understand that the Advertisers have objected to the date range
10     requested for document preservation. Plaintiffs assert that the time period for which
11     information should be preserved by Appearing Defendants runs from the beginning
12     of May 2018 to the present. The relevant date (May 2018) for Plaintiffs’ requested
13     document preservation is based on the date when Thothub apparently began its
14     piracy operations. This date is relevant, among other reasons, because Plaintiffs’
15     claims turn in part on Defendants’ knowledge or awareness of the Thothub
16     Enterprise’s alleged RICO and copyright-infringing activities.
17     Appearing Defendants’ Statement
18               The Appearing Defendants disagree Plaintiffs have adequately justified the
19     date from which the Appearing Defendants’ documents should be preserved and
20     intend to further meet and confer with Plaintiffs’ counsel in an effort to resolve that
21     issue if possible. Plaintiffs bear the burden of explaining their selected date and
22     indeed were obligated to properly investigate their claims before bringing
23     them. Plaintiffs instead offer the date of the supposed start of thothub.tv – a third-
24     party site not owned or controlled by the Appearing Defendants. But that date is
25     irrelevant because Plaintiffs have no evidence or other basis for asserting any of their
26     claimed works were infringed, directly or indirectly, by any of the Appearing
27     Defendants as of that time. In contrast, the time period for which information should
28     be preserved by Plaintiffs runs from the earlier of (1) the earliest date Plaintiffs

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 1     created their Patreon, Onlyfans, or StorEnvy accounts, or (2) the creation of the
 2     earliest-created of the alleged copyrighted works, since Plaintiffs have purported to
 3     put those directly at issue.
 4               P.        Complexity of the Case
 5               The Parties discussed the complexity of the incident case. At this time, the
 6     Parties do not believe it is necessary to utilize the procedures of the Manual for
 7     Complex Litigation (current edition).
 8               Q.        Timetable for Further Case Management Reports
 9               The Parties propose to provide the Court an updated proposed timetable after
10     the Court’s ruling on motions to dismiss. At that time, the Parties will also provide
11     proposals for additional pretrial deadlines, such as exchange of pretrial exhibits and
12     witness lists, Daubert motions, and motions in limine. All suggested dates are
13     subject to the Court’s availability and confirmation from the respective clients.
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 1                                          SIGNATURE ATTESTATION
 2               The CM/ECF user filing this paper attests that concurrence in its filing has
 3     been obtained from its other signatories.
 4               Respectfully submitted on November 19, 2020.
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22                                                             Inc.)
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 1                                          CERTIFICATE OF SERVICE
 2            The undersigned certifies that this joint report was filed with consent of all
 3     parties. It will be served on all counsel of record via the Court’s ECF system.
 4
 5
 6                                                             ___Brett S. Rosenthal_______

 7                                                             Brett S. Rosenthal
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